     Case: 2:23-cr-00242-EAS Doc #: 4 Filed: 12/19/23 Page: 1 of 9 PAGEID #: 5



                              UNITED STATES DISTRICT COURT
                                 SOUTHERNDISTRICTOF OHIO
                                      EASTERN DIVISION                        323 CEC 15 PH 3: 35


 UNITED STATES OF AMEMCA
                                                       CASENO.                   ^<9<
                                                       JUDGE(Vfay
           V.                                          INDICTMENT

                                                       21 U. S.C. § 841(a)(l), (b)(l)(B)(ii)
 JOEL M. MEFFORD                                       21 U. S.C. § 841(a)(l), (b)(l)(A)(ii)
                                                       18 U. S. C. § 1957
                                                       FORFEITURE ALLEGATIONS


THE GRANDJURY CHARGES:

          All dates andtimes in this Indictment are allegedto be "on or about," "in andaround," or

"throughandincluding"the specific dates stated.

                                           COUNT 1
                (PossessionWithIntent to Distribute 500 Grams or More ofCocaine)

          1.      At all times relevant to this Count, Defendant JOEL M. MEFFORD was a

police officer with the Columbus Division of Police. One of his duties was to investigate drug

crimes.


          2.      On Febmary 5, 2020, DefendantJOELM. MEFFORDandthe other Columbus

police officer conducted surveillance on a detached garage rented by a subject of one of their

narcotics investigations. They saw the subject enter the detached garage, where they believed he

was engaging in drug activity.

          3.      On Febmary 5, 2020, Defendant JOEL M. MEFFORD and the other Columbus

police officer planned to obtain warrants to search the subject's residence and detached garage on

the morning ofFebruary 6, 2020.
      Case: 2:23-cr-00242-EAS Doc #: 4 Filed: 12/19/23 Page: 2 of 9 PAGEID #: 6



       4.      On Febmary 5, 2020, an employee of the apartment complex where the subject

lived provided access to Defendant JOEL M. MEFFORD and the other Columbus police officer

to enterthe detachedgarage.                                                     ;

       5.      On Febmary 5, 2020, DefendantJOELM. MEFFORDand the other Columbus

police officer, without a warrant, unlawfully entered and searched the detached garage. Defendant

JOEL M. MEFFORD found two kilograms of cocaine in the rafters of the garage. Defendant

JOELM. MEFFORD and the other Columbus police officer unlawfully seized and removed one

of the two kilograms of cocaine from the rafters. They left the other kilogram of cocaine to be

found during the execution ofthe search warrant the following morning.

       6.      On Febmary 5 or 6, 2020, Defendant JOEL M. MEFFORD and the other

Columbus police officer provided the stolen kilogram of cocaine to PERSONA to sell.

       7.      On February 6, 2020, Columbus police officers, including Defendant JOEL M.

MEFFORD and the other Columbus police officer, executed search warrants on the subject's

residence and detachedgarage. They discoveredthe remainmg kilogram ofcocaine in the rafters

of the garage. Defendant JOEL M. MEFFORD was photographed holding the kilogram of

cocaine.


       8.      On February 5, 2020, in the Southern District of Ohio, Defendant JOEL M.

MEFFORD knowingly and intentionally possessed with intent to distribute 500 grams or more of

a mixture or substance containing a detectable amount of cocaine, a Schedule II controlled

substance.

       In violation of 21 U. S. C. § 841(a)(l), (b)(l)(B)(ii).
      Case: 2:23-cr-00242-EAS Doc #: 4 Filed: 12/19/23 Page: 3 of 9 PAGEID #: 7



                                         COUNT 2
             (PossessionWith Intent to Distribute 500 Grams or More of Cocaine)

       9.      At all times relevant to this Count, Defendant JOEL M. MEFFORD was a police

officer with the Columbus Division of Police. One ofhis duties was to investigate drug crimes.

       10.     In February and March 2020, Defendant JOEL M. MEFFORD and another

Columbus police officer were investigating drug-trafficking activity. They identified one house on

Ambleside Drive in Columbus, Ohio, and one house on Kilboume Avenue in Columbus, where

they believed drug-trafficking activity was occurring.

       11.     On March 7, 2020, a vehicle that was significant to the investigation of Defendant

JOELM. MEFFORDandthe other Columbuspolice officerstoppedat a gasstation. Thevehicle

wasbemg drivenby PERSONB.

       12.     On March 7, 2020, Defendant JOEL M. MEFFORD and the other Columbus

police officer confronted PERSONB at the gas station. PERSONB told the officers that he

worked for PERSON C and that PERSON B had just taken a kilogram of cocaine from the

Ambleside house to the Kilboume house. PERSONB also told the officers that there was more

cocaine in the Ambleside house.

       13.     On March 7, 2020, Defendant JOEL M. MEFFORD, the other Columbus police

officer, andPERSONB traveled from the gas stationto the Amblesidehouse.

       14.     On March 7, 2020, PERSON B entered the house, where PERSON C was present.

A bag containmg multiple kilograms of cocaine was removed from the house, and Defendant

JOEL M. MEFFORD and the other Columbus police officer took possession ofthe bag.

       15.     On March 7, 2020, Defendant JOEL M. MEFFORD, the other Columbus police

officer, PERSONB, and PERSONC traveled from the Ambleside house to the Kilboume house.

At this point, PERSONC was under arrest. A kilogram of cocaine was removed from the
      Case: 2:23-cr-00242-EAS Doc #: 4 Filed: 12/19/23 Page: 4 of 9 PAGEID #: 8



Kilboume house and seized by Defendant JOEL M. MEFFORD and the other Columbus police

officer.

           16.      On March 7, 2020, Defendant JOEL M. MEFFORD turned one kilogram of

cocaine into evidence. Defendant JOEL M. MEFFORD and the other Columbus police officer

stole the other kilograms ofcocaine.

           17.      In March 2020, the other Columbus police officer provided the stolen kilograms of

cocaine to PERSOND to sell.

           18.      On March 7, 2020, in the Southern District of Ohio, Defendant JOEL M.

MEFFORD knowingly and intentionally possessed with intent to distribute 500 grams or more of

a mixture or substance containing a detectable amount of cocaine, a Schedule II controlled

substance.

           In violation of 21 U. S. C. § 841(a)(l), (b)(l)(B)(ii).

                                              COUNT 3
                 (PossessionWith Intent to Distribute 5 Kilograms or More ofCocaine)

           19.      At all times relevant to this Count, Defendant JOEL M. MEFFORD was a police

officer with the Columbus Division ofPolice. One ofhis duties was to investigate dmg crimes.

           20.      In 2020, Defendant JOEL M. MEFFORD and another Columbus police officer

discussed stealing cocaine from the Columbus police property room. They planned to steal

kilogramsofrealcocainefromthepropertyroom andreplacethemwithkilogramsoffakecocaine.

           21.      In 2020, PERSON D, at the direction of the other Columbus police officer, made

kilograms offake cocaine and provided them to the officer. The other officer placed the kilograms

of fake cocaine in a black hard plastic case with foam dividers.

           22.      On March 28, 2020, Defendant JOEL M. MEFFORD searched for two property

room clerks on Columbuspolice databases.
     Case: 2:23-cr-00242-EAS Doc #: 4 Filed: 12/19/23 Page: 5 of 9 PAGEID #: 9



       23.     On April 2, 2020, Defendant JOEL M. MEFFORD searched for five property

room clerks on a Columbuspolice database.

       24.     On April 3, 2020, Defendant JOEL M. MEFFORD arrived at his assigned

Columbus police substation before his scheduled shift. He obtained a police cruiser and drove to

the Columbus police property room.

       25.     On April 3, 2020, at 6:50 p.m., Defendant JOEL M. MEFFORD used his

Columbus police keycard to enter a pedestiTian entrance gate atthe Columbus police property room.

       26.     On April 3, 2020, at 6:50 p. m., Defendant JOEL M. MEFFORD used his

Columbus police keycard to enter the Columbus police property room's exterior entrance.

       27.     On April 3, 2020, at 6:51 p.m., the other Columbus police officer used his

Columbus police keycard to enter a pedesti-ian entrance gate atthe Columbus police property room.

       28.     On April 3, 2020, at 6:52 p.m., the other Columbus police officer used his

Columbus police keycardto enterthe Columbus police property room's exterior entrance.

       29.     On April 3, 2020, Defendant JOEL M. MEFFORD and the other Columbus police

officer entered the Columbus police property room. They were in possession of the kilograms of

fake cocaine in the blackhardplastic case with foam dividers. DefendantJOELM. MEFFORD

andthe other Columbus police officer hadworked on aninvestigation where Columbus police had

previously seized a large quantity of drugs where the subjects had not been charged with crimes.

Defendant JOEL M. MEFFORD and the other Columbus police officer told the property room

clerk that they needed to examine evidence from that seizure in the back room of the Columbus

police property room.
     Case: 2:23-cr-00242-EAS Doc #: 4 Filed: 12/19/23 Page: 6 of 9 PAGEID #: 10



       30.     On April 3, 2020, Defendant JOEL M. MEFFORD and the other Columbus police

officer entered the back room with the kilograms of fake cocaine in the black hard plastic case

with foam dividers.

       31.     OnApril 3, 2020, Defendant JOELM. MEFFORD andthe other Columbus police

officer swapped the kilograms ofreal cocaine with kilograms of fake cocaine in the back room of

the Columbus police property room. They placed approximately 20 kilograms of real cocaine in

the black hard plastic case with foam dividers and left the property room.

       32.     On April 3, 2020, Defendant JOEL M. MEFFORD transported the stolen

kilograms ofcocainein the police cmiser.

       33.     OnApril 3, 2020, Defendant JOELM. MEFFORD andthe other Columbus police

officer drove separately and met near Nationwide Children's Hospital in Columbus. Defendant

JOEL M. MEFFORD provided the stolen kilograms of cocaine in the black hard plastic case

with foam dividersto the other Columbuspolice officer.

       34.     On April 3, 2020, the other Columbus police officer stored the stolen kilograms of

cocaine at the residence of PERSON A.

       35.     In April 2020, the other Colimibus police officer provided the stolen kilograms of

cocaine to PERSON D to sell.

       36.     On April 3, 2020, in the Southern District of Ohio, Defendant JOEL M.

MEFFORD knowingly and intentionally possessed with intent to disteibute 5 kilograms or more

of a mixture or substance containing a detectable amount of cocaine, a Schedule II controlled

substance.

       In violation of 21 U. S. C. § 841(a)(l), (b)(l)(B)(ii).




                                                   6
     Case: 2:23-cr-00242-EAS Doc #: 4 Filed: 12/19/23 Page: 7 of 9 PAGEID #: 11



                                           COUNT 4
                                     (Money Laundering)

       37.    The allegationsin Count 3 ofthis Indictmentare reallegedhere.

       38.    On April 10, 2020, Defendant JOEL M. MEFFORD arrived at his assigned

Columbuspolice substation, whichwas in the southwestareaofColumbus.

       39.    On April 10, 2020, Defendant JOEL M. MEFFORD radioed that he was

traveling to another Columbus police substation, which was in the northeast area of Columbus.

       40.    OnApril 10, 2020, DefendantJOELM. MEFFORDandthe other Columbus

police officer met at an empty U-Haul parking lot, located off Sinclair Road in Columbus.

DefendantJOELM. MEFFORDdrovethere in a Columbuspolice cruiser. The other

Columbuspolice officerprovidedDefendantJOELM. MEFFORDwith his share ofthe

proceedsofthe sale ofthe stolenkilograms ofcocainedescribedin Count 3 ofthis Indictment.

Defendant JOEL M. MEFFORD did not use his police keycard that night at the substation in

the northeast area of Columbus.

       41.    On April 10, 2020, Defendant JOEL M. MEFFORD drove back to the police

zone where he was assigned.

       42.    On April 28, 2020, in the Southern District of Ohio and elsewhere. Defendant

JOELM. MEFFORD did knowingly engage and attempt to engage in a monetary transaction by,

through, and to a financial institution, affecting interstate and foreign commerce-that is, a

$72, 015 cash deposit into his personal JPMorgan Chase Bank account-in criminally derived

property of a value greater than $10, 000, such property having been derived from a specified

unlawful activity-that is, the dmg offensealleged in Count 3 ofthis Indictment.

       In violation of 18 U. S.C. §1957.
     Case: 2:23-cr-00242-EAS Doc #: 4 Filed: 12/19/23 Page: 8 of 9 PAGEID #: 12



                                FORFEITURE ALLEGATION A

        43.     The allegations of Counts 1 through 3 ofthis Indictment are realleged here.

        44.     Upon conviction of any of the controlled substance offenses alleged m Counts 1

through 3 ofthis Indictment, DefendantJOELM. MEFFORDshall forfeit to the United States,

under 21 U. S. C. § 853(a)(l) and (2), any property constihiting, or derived from, proceeds obtained,

directly or indirectly, as a result ofthe saidviolation and any property used, or intended to be used,

in any manner or part, to commit, or to facilitate the commission of the said violation.

        45.     If, as a result of any act or omission of Defendant JOEL M. MEFFORD, the

forfeitable property so described, or any portion thereof cannot be located upon the exercise of due

diligence; has been transfen-ed or sold to, or deposited with a third party; has been placed beyond

the jurisdiction of the court; has been substantially diminished in value; or has been commingled

with other property whichcannot be divided without difficulty, it is the intent ofthe United States,

pursuant to 21 U. S.C. § 853(p), to seek forfeiture of any other property of Defendant JOEL M.

MEFFORD up to the value ofthe subject property.

        Forfeiture in accordancewith 21 U.S.C. § 853(a)(l) and (2) and Rule 32.2 ofthe

Federal Rules of Criminal Procedure.

                                FORFEITUREALLEGATION B

        46.     The allegations of Count 4 ofthis Indictaient are realleged here.

        47.     Upon conviction of the money laundering offense alleged in Count 4 of this

Indictment, Defendant JOEL M. MEFFORD shall forfeit to the United States, pursuant to 18

U. S. C. § 982(a)(l), any property, real or personal, involved in the offense as alleged in such count,

or any property traceable to suchproperty, including but not limited to $72,015 in the form of a

forfeiture moneyjudgment.
     Case: 2:23-cr-00242-EAS Doc #: 4 Filed: 12/19/23 Page: 9 of 9 PAGEID #: 13



       48.      If, as a result of any act or omission of Defendant JOEL M. MEFFORD, the

forfeitable property so described, or any portion thereof cannot be located upon the exercise of due

diligence; has been transferred or sold to, or deposited with a third party; has been placed beyond

the jurisdiction of the court; has been substantially diminished in value; or has been commingled

with other property which cannot be divided without difficulty, it is the intent ofthe United States,

pursuant to 21 U. S. C. § 853(p) as incorporated by 18 U. S. C. § 982(b)(l), to seek forfeiture of any

other property of Defendant JOEL M. MEFFORD up to the value of the subject property.

       Forfeiture in accordancewith 18 U.S.C. § 982(a)(l) and Rule 32.2 ofthe Federal

Rules of Criminal Procedure.

                                               A TRUE BILL


                                               s/Fore ersou
                                               FOREPERSON


KENNETHL. PARKER
UNITED STATES ATTORNEY

                              n.
                         -4^1:^
PETERK. LENN- 'L GATE (0088708)
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